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                             UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF omo
                              WESTERN DIVISION -CINCINNATI                         ia
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    In re:                                                   Case No. 18-13425
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                                                                                       U.S. ,.. \~;;.,.F1 ·-(.\'                     ~~c·. .~\T
              Joshua V. Jones                                Chapter 13                         c~ ._'   L   -~~,_,•~ I;      .-:•   1:0
              Amanda M. Jones
                                                             Judge Hopkins
              Debtor(s)
                                                             DEBTORS MOTION IN REQUEST FOR
                                                             CONTINUANCE


             Now come Joshua and Amanda Jones ("Debtors") requesting this court for continuance.
   Debtor, Amanda Jones' work schedule conflicts with current hearing scheduled for June 18,
   2019, at 2:00pm. Amanda Jones has been unsuccessful in switching shifts with any fellow nurses
   at Cincinnati Children's Hospital, and is scheduled to work during the scheduled hearing of
   Debtor's counsel motion to withdraw.
             Additionally, Debtor's counsel, attorney Nicholas Zingarelli, has advised that Debtors
   can hire new legal counsel to attend the hearing in representation of Debtors. However, after
   speaking with numerous Bankruptcy attorneys in the local area, all attorneys have advised
   Debtors that representation is not permitted until the court releases Debtors current counsel,
   Nicholas Zingarelli.
             In summary, Debtors object to defending themselves against current counsel, in hearing
   of Debtors current counsel motion to withdraw. In the event Debtors must represent themselves in
   hearing, Debtors hereby moves this honorable Court to grant motion of continuance.




                                     CERTIFICATE OF SERVICE

   I hereby certify that a copy of the foregoing Debtors Motion in Request for Continuance was
   served by ordinary U.S. mail or via Electronic mail on June 13, 2019 to:
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